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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                                 Docket No. Criminal 24-72


United States of America,                     )
                                              )
                               Plaintiff,     )               DEFENDANT JERRY HAL
                                              )               SALITERMAN’S MOTION
                                              )               TO CONTINUE DATE FOR
vs,                                           )               CNANGE OF PLEA HEARING
                                              )               (Docket 36)
Jerry Hal Saliterman,                         )
                                              )
                               Defendant.     )

               *                              *                              *

       Because of the nature and expected length of this case counsel has applied via a separate

filing in the District Court and Court of Appeals for certification of his representation in this

matter as “extended” and “complex” within the meaning of Title 18, United States Code, Section

18 U.S.C. § 3161(h)(7)(B)(ii). Those courts have agreed and granted interim billing. Defendant

now moves this Court for a continuance of the date set for change of plea hearing set for 10

January 2025 (Docket 36) due to Defendant’s medical condition. Defendant has informed

counsel that he was hospitalized on 3 January 2025 for inability to walk and sepsis and remains

hospitalized at the time of this motion. His doctor has informed this Court and counsel via letter

that Defendant will not be able to appear personally before the Court on 10 January 2025 for a

change of plea hearing. No date for his return to Court is available at this writing.

       The Court should find that this case is complex within the meaning of 18 U.S.C. §

3161(h)(7)(B)(ii), grant this motion for extension of the date for the change of plea hearing

(Docket 36), and exclude any consequent delay resulting from the granting of this motion from
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the computation of the speedy trial time because “the ends of justice served by taking such action

outweigh the best interest of the public and the defendant in a speedy trial” pursuant to 18 U.S.C.

§ 3161(h)(7)(A). Counsel has discussed this motion with Defendant who agrees with it and

adopts it as his own statement of reasons. Counsel for the Government and Defendant have

“met” and conferred by telephone.       Government counsel has indicated he would have no

objection to this motion as long as Defendant remains unable to travel.

                                         CONCLUSION

       Defendant’s medical condition requires the Court to certify the representation as

“extended” and “complex,” and to grant this application for extension of the change of plea and

date of 10 January 2025 and all other deadlines, including any trial date, and exclude any

consequent delay in granting this application from the computation of the speedy trial time

because “the ends of justice served by taking such action outweigh the best interest of the public

and the defendant in a speedy trial” pursuant to 18 U.S.C. § 3161(h)(7)(A). This continuance

motion is based in part on Defendant Jerry Hal Saliterman’s Fourth Statement of Facts in




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Support of Exclusion of Speedy Trial Time previously filed.

Dated: 8 January 2025                              Respectfully submitted


                                                   JOHN C. BRINK, LAWYER

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